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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Westero Divisioo

 

UNITED STATES OF AMERICA

-vs- Case No. 2:05cr20042-Ma

COURTENAY DURR

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGI PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
FRIDAY, AUGUST 26, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M. Pham
in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: August23, 2005 l < :
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TU 1\71. PHAM
UNITED sTATEs MAGISTRATE JUDGE

 

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendantl 18 U.S.C. § 3142({)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (I) sets forth
the grounds that may be asserted only by the attorney for the govemrnent; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft':cer's own motion, it` there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Temporary Detenlion

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with Fl.ile 55 and/cr 32ibl FRCIP OB_£.&_`

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20042 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

